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MICHAEL N. FEUER, City Attorney - SBN 111529
THOMAS H. PETERS, Chief Assistant City Attorney — SBN 163388
CORY M. BRENTE, Assistant City Attorney — SBN 115453

DENISE C. ZIMMERMAN, Deputy City Attorney - SBN 191992
denise.zimmerman@lacity.org

200 North Main Street, 6th Floor, City Hall East

Los Angeles, California 90012

Phone No.: (213) 978-7032
Fax No.: (213) 978-8785

Attorneys for Defendants CITY OF LOS ANGELES, RICARDO HUERTA,
RUDOLPH RIVERA, and ALDO QUINTERO

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

RUFINA MOLINA, ESTATE OF LUIS CASE NO.
MARTINEZ, by and through successor in

Interest, RUFINA MOLINA, (LASC Case No. BC 603050)
Plaintiff,
VS. ; NOTICE OF REMOVAL OF
: | ACTION UNDER 28 U.S.C. 86 1441
CILY OF LOS ANGELES; RICARDO (a). and 1446 (a); DECLARATION
HUERTA, RUDOLPH RIVERA, ALDO DENISE C, ZIMMERMAN;
QUINTERO, and DOES | through 10, AND SUPPORTING EXHIBITS

Inclusive,

Defendants.

 

 

TO THE CLERK OF THE ABOVE-ENTITLED COURT:

PLEASE TAKE NOTICE that Defendants CITY OF LOS ANGELES,
RICARDO HUERTA, RUDOLPH RIVERA, and ALDO QUINTERO
(“CITY DEFENDANTS”) hereby remove this action from the Superior Court for

the State of California, County of Los Angeles to the United States District Court

 
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or the Central District of California. The removal is made pursuant to 28 U.S.C. §

1446(a), on the facts set forth below:

l. The CITY DEFENDANTS are named defendants in this civil action
filed in the Superior Court of the State of California, County of Los Angeles
entitled Rufina Molina, etc., et al. v. City of Los Angeles, et al., Superior Court
Case No. BC603050. Plaintiffs filed their Complaint on December 4, 2015. The
following are true and correct copies of the State Court documents in the above
action with referenced exhibit numbers: Plaintiffs’ Complaint (Exhibit 1);
Summons (Exhibit 2); Civil Case Cover Sheet (Exhibit 3); Civil Case Cover Sheet
Addendum and Statement of Location (Exhibit 4); Notice of Case Assignment —
Unlimited Civil Case (Exhibit 5); Notice of Related Case (Exhibit 6); Notice of
Case Management Conference (Exhibit 7); Notice of Related Case (Exhibit 8);
Proof of Service — City of Los Angeles (Exhibit 9); Proof of Service — Ricardo
Huerta (Exhibit 10); Proof of Service — Rudolph Rivera (Exhibit 11); and Proof of
Service ~ Aldo Quintero (Exhibit 12).

2. This action meets the original jurisdiction requirements of 28 USC §
1441(a) and is removable by City Defendants pursuant to 28 USC § 1446(a). A
case is removable from state to federal court if the action could have been
originally commenced in federal court. 28 USC § 1441(a); Grubbs v. General
Electric Credit Corp., 405 US 699, 702 (1972). The propriety of removal is

determined at the time the petition for removal is filed by reference to the
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plaintiff's complaint filed in state court. La Chemise Lacoste v. Alligator Co., 506
F.2d 339, 343-44 (3d Cir. 1974). When the complaint states a claim invoking the
original jurisdiction of the federal court, the action is removable. Jd. Under the
Judicial Code, federal district courts have original jurisdiction in the district courts
over all actions brought under 42 USC § 1983. See 28 USC § 1343(a)(3).
Moreover, the Code confers original jurisdiction in the district courts over all
actions involving federal questions. See 28 USC § 1331.

3. The gravamen of this action is the federal civil rights claim set forth in
the first and second causes of action of Plaintiffs’ Complaint.

4, There are no State law claims asserted in Plaintiffs’ Complaint. When
an action originally filed in state court is removed to federal court, the federal
tribunal has jurisdiction to determine not only the federal claims but all pendent
state claims “that are so related to claims in the action... . that they form part of
the same case or controversy...” See 28 USC § 1367. Since Plaintiffs have not pled
any state claims in this matter it is a matter of law that the federal tribunal has sole
jurisdiction,

5. Defendants the CITY DEFENDANTS were served with Plaintiffs’
Complaint on January 26, 2016, and consent to this removal. (See Declaration of
Denise C. Zimmerman)

6. Further, other than those persons identified above and the persons

identified in the caption as “DOES 1 through 10” there are no other named

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defendants in this lawsuit. Therefore, there are no other defendants who need to
consent in order for this case to be removed. (See Declaration of Denise C.
Zimmerman).

7. The Notice of Removal is filed with this Court within 30 days after
the CITY DEFENDANT were served with the Complaint on January 26, 2016.
(See Declaration of Denise C. Zimmerman).

8. The Notice of Removal is being filed in this Court and in the Superior
Court of the State of California, County of Los Angeles.

WHEREFORE, the above-entitled action, now pending in the Superior
Court of the State of California, County of Los Angeles, is removed to the United
States District Court for the Central District of California.
DATED: February 25 , 2016
MICHAEL N. FEUER, City Attorney

THOMAS H. PETERS Chief Deputy City Attorney
CORY M. BRENTE, Supervising Asst City Attorney

DENISEC. ZIMMERMAN
Deputy City Attorney

Attorney for Defendants CITY OF LOS ANGELES,
RICARDO HUERTA, RUDOLPH RIVERA, and ALDO
QUINTERO

 

 
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DECLARATION OF DENISE C. ZIMMERMAN

1, DENISE C. ZIMMERMAN, do hereby declare that I have personal
knowledge of the facts set forth herein and that if called as a witness in this case, I
could and would competently testify as follows:

1. Iam a Deputy City Attorney for the City of Los Angeles. In that
capacity, I have been assigned to assist in representing Defendants CITY OF LOS
ANGELES, RICARDO HUERTA, RUDOLPH RIVERA, and ALDO QUINTERO
(“CITY DEFENDANT”), in the case of Rufina Molina, etc., et al. v. City of Los
Angeles, et al., Superior Court Case No. BC 603050, now pending in the Los
Angeles Superior Court.

2. The following are true and correct copies of the State Court documents
in the above action with referenced exhibit numbers: Plaintiffs’ Complaint (Exhibit
1); Summons (Exhibit 2); Civil Case Cover Sheet (Exhibit 3); Civil Case Cover
Sheet Addendum and Statement of Location (Exhibit 4); Notice of Case
Assignment — Unlimited Civil Case (Exhibit 5); Notice of Related Case (Exhibit
6); Notice of Case Management Conference (Exhibit 7); Notice of Related Case
(Exhibit 8); Proof of Service — City of Los Angeles (Exhibit 9); Proof of Service —
Ricardo Huerta (Exhibit 10); Proof of Service — Rudolph Rivera (Exhibit 11); and

Proof of Service — Aldo Quintero (Exhibit 12).

 
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3. CITY DEFENDANTS were served with Plaintiffs’ Complaint on
January 26, 2016, and consent to this removal. Attached hereto as Exhibits 13
through 16 are true and correct copies of the Summons served on Defendants
CITY OF LOS ANGELES, RICARDO HUERTA, RUDOLPH RIVERA, and
ALDO QUINTERO, respectively.

4. Further, other than those persons identified above and the persons
identified in the caption as “DOES | through 10” there are no other named
defendants in this lawsuit. Therefore, there are no other defendants who need to
consent in order for this case to be removed.

5. The Notice of Removal is filed with this Court within 30 days CITY
DEFENDANTS were served with Plaintiff's Complaint on January 26, 2016.

6. This Notice of Removal is being filed in this Court and in the Los
Angeles Superior Court.

I declare under penalty of perjury pursuant to the laws of the United States
of America that the foregoing is true and correct.

Executed on February 25 7016, at Los Angeles, California.

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DENISE C. ZIMMERMAN, Declarant

 
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PROOF OF SERVICE
I, MARGARIT AVESYAN, the undersigned, declare as follows:

At the time of service I was over 18 years of age and not a party to this
action. My business address is 200 N. Main Street, 600 City Hall East, Los
Angeles, CA 90012, which is the County, City and State where this mailing
occurred,

On February 25, 2016, I served the document(s) described as:

NOTICE OF REMOVAL OF ACTION UNDER 28 U.S.C. SECTIONS
1441(a) and 1446(a); DECLARATION OF DENISE C. ZIMMERMAN; AND
SUPPORTING EXHIBITS

on all interested parties in this action:

Attorneys for Plaintiff:

Arnoldo Casillas, Esq.

CASILLAS & ASSOCIATES

3500 W. Beverly Boulevard
Montebello, CA 90640

(323) 725-0917 & (323)725-0350 Fax

I served a true copy of the document(s) above by:

[X ‘ Depositing it in the United States Mail in a sealed envelope with the
postage thereon fully prepaid to the address(es) above.

_{X] I hereby certify that I am employed in the office of a member of the Bar
of this Court at whose direction the service was made.

[X] I hereby certify under the penalty of perjury that the foregoing is true
and correct.

Executed on February 25, 2016 at Los Angeles, California

 

 
